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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF OKLAHOMA

                                                  )
ROBBIE EMERY BURKE, as Special                    )
Administratrix of the Estate of                   )
BILLY WOODS, Deceased,                            )
                                                  )
                            Plaintiff,            )
                                                  )      Case No.: 18-CV-108-RAW
vs.                                               )
                                                  )
MUSKOGEE COUNTY COUNCIL OF                        )
YOUTH SERVICES (“MCCOYS”), et al.,                )
                                                  )
                                                  )
                            Defendants.           )

                                          ORDER

        Before the Court is Defendant Muskogee County Council of Youth Services'

Unopposed Request For Enlargement Of Motion For Summary Judgment Brief [Doc 148].

The Court hereby GRANTS IN PART this Motion. Defendant MCCOYS is allowed a

maximum of thirty (30) pages for its Motion for Summary Judgment, excluding cover

pages, tables of authorities and content, and attorney signatures and certificate of service.

        Dated this 12th day of March, 2019.



                                           ______________________________
                                           THE HONORABLE RONALD A. WHITE
                                           UNITED STATES DISTRICT JUDGE
                                           EASTERN DISTRICT OF OKLAHOMA
